       Case 4:11-cr-00250-JMM         Document 78       Filed 06/07/12     Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA

VS.                          CASE NO. 4:11CR000250 JMM

JOSE RUBEN VALERIO-SALDANA;

ADH ENTERPRISES, INC,
D.B.A. EL TRESS AMIGOS RESTAURANT;

FSZ OF BATESVILLE, INC,
D.B.A. EL TRES AMIGOS RESTAURANT;

FSZ, INC,
D.B.A. EL TRES AMIGOS RESTAURANT;

FSZ OF ROSE BUD, INC.,
D.B.A. ELTRES AMIGOS RESTAURANT;

FELIPE SALDANA-ZAVALA; AND

J. JESUS SALDANA-ZAVALA

                                           ORDER

       The United States of America’s Motion to Dismiss the Indictment against ADH

Enterprises, Inc., d.b.a. EL TRES AMIGOS Restaurant, FSZ of Batesville, Inc., d.b.a. EL TRES

AMIGOS Restaurant, FSZ, Inc., d.b.a. EL TRES AMIGOS restaurant, FSZ of Rose Bud, Inc.,

d.b.a. EL TRES AMIGOS Restaurant, Felipe SALDANA-Zavala, and J. Jesus SALDANA-

Zavala is granted (#77). The indictment against ADH Enterprises, Inc., d.b.a. EL TRES

AMIGOS Restaurant, FSZ of Batesville, Inc., d.b.a. EL TRES AMIGOS Restaurant, FSZ, Inc.,

d.b.a. EL TRES AMIGOS restaurant, FSZ of Rose Bud, Inc., d.b.a. EL TRES AMIGOS

Restaurant, Felipe SALDANA-Zavala, and J. Jesus SALDANA-Zavala returned by the Grand

Jury for the Eastern District of Arkansas on November 1, 2011, is hereby dismissed.
Case 4:11-cr-00250-JMM     Document 78       Filed 06/07/12    Page 2 of 2




IT IS SO ORDERED this 7 day of June, 2012.




                                              James M. Moody
                                              United States District Judge
